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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DEMETRA HENDERSON-BURKHALTER CIVIL ACTION NO. 2:18-cv-00928
GREGORY OFFRAY AND
JACQUELINE THOMPSON

Plaintiff JUDGE CARL BARBIER

NATIONAL UNION FIRE INSURANCE MICHAEL NORTH
COMPANY, WALMART

TRANSPORTATION, LLC AND

LEE MULLIGAN

Defendants

Re RRR KAKKRAKRE KAKA KKK KEKE KAAERKR AKER RRA KKK KK KK RK KR KR HK

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VERSUS * MAGISTRATE JUDGE
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DEFENDANTS’ WITNESS AND EXHIBIT LIST
NOW INTO COURT, through undersigned counsel, come Defendants, National Union Fire
Insurance Company, Walmart Transportation, LLC, and Lee Mulligan (hereinafter collectively
referred to as “Defendants”), who respectfully submit the following Witness and Exhibit List in
accordance with this Court’s Scheduling Order:
WITNESS LIST
Defendants shall or may call the following witnesses at the trial of this matter:
1. Defendant Lee Mulligan — testify regarding facts of accident and Wal-Mart
Transportation, LLC’s policies and procedures;
2. Plaintiff Demetra Henderson-Burkhalter (on cross examination) ;
3. Plaintiff Gregory Offray (on cross examination);
4, Plaintiff Jacqueline Thompson (on cross examination);
5. John Marty Blackston (Regional Safety Director at Wal-Mart Transportation, LLC) —
testify regarding Wal-Mart Transportation, LLC’s policies and procedures;

6. Mary Bowman (Safety Manager at Wal-Mart Transportation, LLC) — testify regarding
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Wal-Mart Transportation, LLC’s policies and procedures;

Dr. Fred DeFrancesch, Jr. (Defendants’ expert in physical medicine and rehabilitation,
spinal cord injury medicine and pain) — testify regarding Plaintiffs Gregory Offray’s
alleged injuries and medical treatment as a result of the subject incident;

Dr. Everett Robert (Defendants’ expert neurosurgeon) — testify regarding Plaintiffs
Henderson-Burkhalter and Plaintiff Thompson’s alleged injuries and medical treatment as
a result of the subject incident and his opinions on medical causation;

Wayne Winkler (Defendants’ expert in accident reconstruction, accident investigation,
and Title 32—Rules of the Road) — testify regarding causation of the alleged motor vehicle
incident and the unique similarities between the subject incident and other trucking
incidents occurring in the past eighteen (18) months in the New Orleans area.;

Charles Barnett of the Barnett Group (Defendant’s investigator) — testify regarding his
investigation of similar trucking accidents and background investigation on Plaintiffs;
Fred Schroeder of the Barnett Group (Defendant’s investigator) — testify regarding his
background investigation on Plaintiffs;

Lyssa Barros (DIS records custodian) — testify regarding policies and procedures on MRI
films and paperwork and Plaintiff's Henderson-Burkhalter’s certified records;

Cornelius Garrison testify regarding his relationship to the Plaintiffs and knowledge of
other similar trucking incidents in the New Orleans area;

Brian Landry, Vice President of Claims Bureau USA, Inc. (Defendants’ investigator) —
testify regarding his background investigation of Plaintiffs, investigation of Cornelius
Garrison and his cell phone record call log, investigation of plaintiffs in other similar

trucking incidents, investigation of the relationship between plaintiffs in the instant matter
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and plaintiffs in other similar trucking incidents; investigation of relationship between
Plaintiffs in the instant matter and Cornelius Garrison, and investigation of relationship
between plaintiffs in other similar trucking incidents and Cornelius Garrison;

Amy DiMambro of Claims Bureau USA, Inc. (Defendants’ investigator) — testify
regarding her background investigation of Plaintiffs, investigation of Cornelius Garrison
and his cell phone record call log, investigation of plaintiffs in other similar trucking
incidents, investigation of the relationship between plaintiffs in the instant matter and
plaintiffs in other similar trucking incidents; investigation of relationship between
Plaintiffs in the instant matter and Cornelius Garrison, and investigation of relationship
between plaintiffs in other similar trucking incidents and Cornelius Garrison;

Any witness needed for impeachment or rebuttal purposes;

Any witness listed, called, offered or proffered by any other party to this litigation;

Any person identified pursuant to ongoing discovery; and

Any and all witnesses needed to authenticate evidence.

Defendants reserve the right to supplement and/or amend this witness list as discovery is still

ongoing.

EXHIBIT LIST

Defendants shall or may introduce the following exhibits at the trial of this matter:

1.

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Any and all photographs of the damage to plaintiff's vehicle;

Any and all documents in the GEICO claims file regarding property damage of plaintiff's
vehicle, including photographs;

Any and all photographs of the Wal-Mart Transportation, LLC tractor-trailer;

Certified medical records from Total Body Chiropractic regarding Demetra Henderson-
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Burkhalter;

Certified medical records from Guardian Care regarding Demetra Henderson-Burkhalter;
Certified medical records from Injury Meds regarding Demetra Henderson-Burkhalter;
Certified medical records from Dr. Lonseth — Interventional Pain Center regarding
Demetra Henderson-Burkhalter;

Certified medical records from One Spine Institute regarding Demetra Henderson
Burkhalter;

Certified medical records from Crestview Surgery Center regarding Demetra Henderson-
Burkhalter;

Certified medical records from Ochsner Main Campus Jefferson regarding Demetra
Henderson-Burkhalter;

Certified medical records from University Medical Center regarding Demetra Henderson-
Burkhalter;

Certified medical records from West Jefferson Medical Center regarding Demetra
Henderson-Burkhalter;

Certified pharmacy records from CVS store #05408, including Algiers Pharmacy records
regarding Demetra Henderson-Burkhalter;

Certified medical records from Dr. Christopher Lawrence regarding Demetra Henderson-
Burkhalter;

Certified medical records from Total Body Chiropractic regarding Gregory Offray;
Certified medical records from Dr. Eric Lonseth — Interventional Pain Center regarding
Gregory Offray;

Certified medical records from One Spine Institute regarding Gregory Offray;
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Certified medical records from West Jeff Medical Center regarding Gregory Offray;
Certified medical records from DIS regarding Jacqueline Thompson;

Certified medical records from Injury Meds regarding Jacqueline Thompson;

Certified medical records from New Orleans EMS regarding Jacqueline Thompson;
Certified medical records from One Spine Institute regarding Jacqueline Thompson;
Certified medical records from Total Body Chiropractic regarding Jacqueline Thompson;
Certified medical records from Dr. Lonseth - Interventional Pain Center regarding
Jacqueline Thompson;

Certified medical records from Crescent View Surgery Center regarding Jacqueline
Thompson;

Certified medical records from Tulane Medical Center regarding Jacqueline Thompson;
Certified medical records from Tulane Hospital regarding Jacqueline Thompson;
Certified medical records from University Medical Center regarding Jacqueline
Thompson;

Walmart Transportation, LLC’s policies and procedures produced in discovery;

Lee Mulligan's personnel file produced in discovery;

Video clip recorded at scene of accident by Lee Mulligan;

Lee Mulligan’s driver logs produced in discovery;

Certification of no repairs to the Wal-Mart tractor-trailer;

Federal drug testing on Lee Mulligan;

Vehicle position history list of tractor-trailer on date of accident;

Maintenance and repair records on Wal-Mart Transportation tractor-trailer;

Titles for Walmart tractor-trailer; Certified business auto excess policy of National Union
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Fire Insurance Company of Pittsburgh, PA’s issued to Wal-Mart Transportation, LLC;
Any and all documents produced in return to Subpoena Duces Tecum to RepWest
Insurance Company including transcribed recorded statement of Gregory Offray;
Documents responsive to Subpoena Duces Tecum from AT&T for plaintiff, Gregory
Offray’s cell phone records;

Documents responsive to Subpoena Duces Tecum to Gretna Police Department on
Gregory Offray;

Documents responsive to Subpoena Duces Tecum to Allstate Insurance Company on
Gregory Offray;

Documents responsive to Subpoena Duces Tecum from the Variety Wholesale regarding
Demetra Henderson-Burkhalter, including Dr. Perveen Malek’s medical records;
Documents responsive to Subpoena Duces Tecum to Sedgwick Claims regarding Demetra
Henderson-Burkhalter;

Documents responsive to Subpoena Duces Tecum to LWCC regarding Demetra
Henderson-Burkhalter;

Documents responsive to Subpoena Duces Tecum to Broadspire regarding Demetra
Henderson-Burkhalter;

Documents responsive to Subpoena Duces Tecum to Zitirich American Insurance
Company regarding Demetra Henderson-Burkhalter;

Documents responsive to Subpoena Duces Tecum to Dollar General regarding Demetra
Henderson-Burkhalter;

Documents responsive to Subpoena Duces Tecum to Metro PCS regarding cell phone

records on Demetra Henderson-Burkhalter;
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Documents responsive to Subpoena Duces Tecum to Gallagher Bassett regarding Demetra
Henderson-Burkhalter;
Documents responsive to Subpoena Duces Tecum to State Farm regarding Demetra
Henderson-Burkhalter;
Documents responsive to Subpoena Duces Tecum to Netherlands Insurance Company
regarding Jacqueline Thompson;
Any and all documents relied upon by Wayne Winkler to formulate his opinions and those
documents he produced in response to Plaintiffs’ Subpoena Duces Tecum, including his
calculations for this accident;
Documents responsive to Subpoena Duces Tecum to Dr. Eric Lonseth;
Documents responsive to Subpoena Duces Tecum to Dr. Peter Liechty;
Documents responsive to Subpoena Duces Tecum from T-Mobile for Cornelius
Garrison’s cell phone records;
Any and all other pleadings filed in litigation involving the following similar trucking
accidents:
i. Miranda L Ifford et al v. AIG Global Casualty et al, CDC, Parish of Orleans, 2016-
10391, Div. E;
ii. | Swanika Robinson et al v. Ace American Insurance Company et al, Civil District
Court for the Parish of Orleans, 2017-03111, Div. B;
iii. | Brian Banks et al v. Interide Transport, LLC et al, Civil District Court for the
Parish of Orleans, 2017-10168, Div. G;
iv. Rene Bertrand v. Terrell Morris, III et al, Civil District Court for the Parish of

Orleans, 2017-05554, Div. J;
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Parker et al v. Walmart Transportation, Civil District Court for the Parish of
Orleans, 2018-00030, Div. L;

Brittany Williams v. US Autologistics, LLC et al, Civil District Court for the
Parish of Orleans, 2018-00003, Div. I;

Sonya Dent Jones et al v. Travelers et al, Civil District Court for the Parish of
Orleans, 2018-01572, Div. B;

Adams v. RLC Trucking, Civil District Court for the Parish of Orleans, 2018-
02899, Div. C;

Harris v. RLC Trucking,,Civil District Court for the Parish of Orleans, 2018-
02918, Div. C;

Morgan et al v. Surim Trucking Express et al, U.S. District Court, Eastern District
of Louisiana, 18-00571;

Thomas et al v. Chambers et al, U.S. District Court, Eastern District of Louisiana,
18-04373;

Linda Harrison et al v. Gabriel Alphonse et al, Civil District Court for the Parish
of Orleans, 2018-03420, Div. D;

Brittney Cains v. YRC Inc., Civil District Court for the Parish of Orleans, 2018-
03769, Div. N;

Myles v. Old Dominion Freight, Civil District Court for the Parish of Orleans,
2018-05022, Div. C;

Raphus Adams et al v. Neier, Inc., Civil District Court for the Parish of Orleans,
2018-03417, Div. D;

Zilton et al v. Gulf Transport, LLC, Civil District Court for the Parish of Orleans,
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2018-02194, Div. N;

Watkins v. On-Site Fuel Service, Civil District Court for the Parish of Orleans,
2018-04813, Div. C;

Johnson et al v. Transportation Consultants et al, Civil District Court for the Parish
of Orleans, 2018-04528, Div. N;

Tyler et al v. Empire Express, U.S. District Court, Eastern District of Louisiana,
18-05364;

Henry v. Cowan Systems, LLC, Civil District Court for the Parish of Orleans,
2018-05391, Div. F;

Williams v. Cowan Systems, LLC, Civil District Court for the Parish of Orleans,
2018-05666, Div. I;

Poole et al v. U.S. Xpress Enterprises, Civil District Court for the Parish of
Orleans, 2018-05791, Div. B;

Poole et al v. U.S. Xpress Enterprises, Civil District Court for the Parish of
Orleans, 2018-05785, Div. C;

Cooper v. Tacan Transportation, Civil District Court for the Parish of Orleans,
2018-05574, Div. B;

Lee & Grant v. Tacan Transportation, Civil District Court for the Parish of Orleans,
2018-06203, Div. J;

Jones v. United Parcel Service, Civil District Court for the Parish of Orleans, 2018-
05289, Div. G;

Darensbourg v. United Parcel Service , Civil District Court for the Parish of

Orleans, 2018-06598, Div. E;
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Fulford v. United Parcel Service, First City Court of New Orleans, 71-2820, Sec.
A;

Fulford v. United Parcel Service, Civil District Court for the Parish of Orleans,
2018-06664, Div. J;

Reed v. Southeastern Freight Lines, Inc., Civil District Court for the Parish of
Orleans, 2018-06569, Div. D;

Gardner & Gardner v. Werner Enterprises, Clark v. Werner Enterprises, 2018-
05288, Div. G;

Clark v. Werner Enterprises, U.S. District Court, Eastern District of Louisiana, 18-
05076;

Jefferson, Matthews & Hinton v. H.M. Davis Transportation, Civil District Court
for the Parish of Orleans, 2018-07187, Div. D;

Degruy, Degruy & Ramee v. Penske, U.S. District Court, Eastern District of
Louisiana, 18-06885;

Statum et al v. Quality Carrier, Civil District Court for the Parish of Orleans, 2018-
07387, Div. G;

Burds v. Javier Flores Transportation, Civil District Court for the Parish of
Orleans, 2018-06692, Div. E;

Fobb, Smith, Winchester, Harris, Diaz & Wishem v. Stericycle, Civil District
Court for the Parish of Orleans, 2018-08066, Div. E;

Hendricks & Williams v. Stericycle, Civil District Court for the Parish of Orleans,
2018-01575, Div. N;

Coleman v. Stericycle, Civil District Court for the Parish of Orleans, 2018-08069,

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Div. C;

Pedesclaux v. Ean Holdings, LLC, Civil District Court for the Parish of Orleans,
2018-07267, Div. J;

Dwayne Johnson v. Shadrack Long, Civil District Court for the Parish of Orleans,
2018-02116, Div. G;

Brumfield v. Bridges, Eastern District of Louisiana, 18-07212;

Williams, Chew & Harrison v. Dupre Logistics, Civil District Court for the Parish
of Orleans, 2018-07367, Div. L;

Smith v. Heniff Transporation Systems, Civil District Court for the Parish of
Orleans, 2018-08479, Div. J;

Hendricks & Morton v. Heniff Transportation Systems, Civil District Court for the
Parish of Orleans, 2018-03289, Div. L;

Reff, Red, Harris & Williams v. Werner Enterprises, Eastern District of Louisiana,
18-08350;

Davis, Davis & Williams v. KAG Leasing, Inc., Civil District Court for the Parish
of Orleans, 2018-08692, Div. L;

Reese and Odds v. Miller Transportation, Eastern District of Louisiana, 18-08336;
Smith v. Seymour Transport, Inc., Civil District Court for the Parish of Orleans,
2018-08791, Div. N;

Lain, Carter & Carter v. Heniff Transportation, Civil District Court for the Parish
of Orleans, 2018-08693, Div. G;

Alexander & Berry v. Saia Motor Freight Line, Civil District Court for the Parish

of Orleans, 2018-08891, Div. G;
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Thompson & Wilson v. Ozark Motor Lines, Eastern District of Louisiana, 18-
08652;

Barra, Gates, Collins & Sims v. Southeastern Freight Lines, Inc., Eastern District
of Louisiana, 18-08223;

Dents & Clark v. Tyson Foods, Inc., Civil District Court for the Parish of Orleans,
2018-08806, Div. G;

Davis v. Saia Motor Freight Line, LLC, Civil District Court for the Parish of
Orleans, 2018-09445, Div. J;

Baham, Turner & Stubbs v. Lovorn & Lovorn Trucking, Eastern District of
Louisiana, 18-08881;

Jones & Toledano v. McKoin Trucking Company & Haynes Motor Lines, LLC,
Civil District Court for the Parish of Orleans, 2018-07635, Div. C;

Green, Johnson & Nobles v. Delta Trucking, Civil District Court for the Parish of
Orleans, 2018-09787, Div. I;

Charles, Foster, Darby & Birden v. Wiley Sanders Truck Lines, Eastern District
of Louisiana, 18-08907;

Varnado & Payne v. DD Logistics, Inc., Eastern District of Louisiana, 18-08969;
Ragas v. Beacon Transport, Civil District Court for the Parish of Orleans, 2018-
07467, Div. L;

Garrison v. 3 T's, Civil District Court for the Parish of Orleans, 2018-09953, Div.
J;

Hart & Johnson v. Forward Air, Inc., Civil District Court for the Parish of Orleans,

2018-09681, Div. L;
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Carter v. Walmart, Inc., Civil District Court for the Parish of Orleans, 2018-09622,
Div. G;

Daniels v. Walmart, Inc., Civil District Court for the Parish of Orleans, 2018-
09548, Div. L;

Lloyd v. Walmart, Inc., Civil District Court for the Parish of Orleans, 2018-03237,
Div. L;

Williams v. Millsaps d/b/a Phat-Boy Trucking, Civil District Court for the Parish
of Orleans, 2018-10379, Div. G;

Gibson & Martin v. Martin Transportation; Civil District Court for the Parish of
Orleans, 2018-10148, Div. B;

Dimitri Frazier, et al v. Whitestone Transportation, Eastern District of Louisiana,
18-02340;

Brown v. Kevin Doyle, Penske, Civil District Court for the Parish of Orleans,
2018-10714, Div. J;

Harris, et al. v. Old Republic Ins. Co., et al., Civil District Court for the Parish of
Orleans, 2016-2238, Div. L;

David Garrison, et al v. The Gray Casualty and Insurance Company, et al, Civil
District Court for the Parish of Orleans, 2018-6316, Div. I-14;

Harris, et al. v. Celadon Trucking Services, Inc., et al.; United States District Court
for the Eastern District of Louisiana; 2:18-cv-03317-MLCF-K WR;

Tiaji Andrews, et al v. United Speciality Ins. Co., et al., Civil District Court for the
Parish of Orleans; 2017-01092, Div. G-11;

Sorina v. Vargas, United States District Court for the Eastern District of Louisiana;

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15-01547;

Lott, et al. v. Airgas USA, LLC, et al., Civil District Court for the Parish of
Orleans; 2018-11740, Div. C; and

Marol Ard v. Yoel Almeida, et al.; Civil District Court for the Parish of Orleans;

2018-03346, Div. D-12.

57. Any and all documents involving any and all of the following New Orleans Police

Department crash reports of similar trucking accidents:

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Miranda L Ifford et al v. AIG Global Casualty et al, CDC, Parish of Orleans, 2016-
10391, Div. E;

Swanika Robinson et al v. Ace American Insurance Company et al, Civil District
Court for the Parish of Orleans, 2017-03111, Div. B;

Brian Banks et al v. Interide Transport, LLC et al, Civil District Court for the
Parish of Orleans, 2017-10168, Div. G;

Rene Bertrand v. Terrell Morris, III et al, Civil District Court for the Parish of
Orleans, 2017-05554, Div. J;

Parker et al v. Walmart Transportation, Civil District Court for the Parish of
Orleans, 2018-00030, Div. L;

Brittany Williams v. US Autologistics, LLC et al, Civil District Court for the
Parish of Orleans, 2018-00003, Div. I;

Sonya Dent Jones et al v. Travelers et al, Civil District Court for the Parish of
Orleans, 2018-01572, Div. B;

Adams v. RLC Trucking, Civil District Court for the Parish of Orleans, 2018-

02899, Div. C;

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Harris v. RLC Trucking,,Civil District Court for the Parish of Orleans, 2018-
02918, Div. C;

Morgan et al v. Surim Trucking Express et al, U.S. District Court, Eastern District
of Louisiana, 18-00571;

Thomas et al v. Chambers et al, U.S. District Court, Eastern District of Louisiana,
18-04373;

Linda Harrison et al v. Gabriel Alphonse et al, Civil District Court for the Parish
of Orleans, 2018-03420, Div. D;

Brittney Cains v. YRC Inc., Civil District Court for the Parish of Orleans, 2018-
03769, Div. N;

Myles v. Old Dominion Freight, Civil District Court for the Parish of Orleans,
2018-05022, Div. C;

Raphus Adams et al v. Neier, Inc., Civil District Court for the Parish of Orleans,
2018-03417, Div. D;

Zilton et al v. Gulf Transport, LLC, Civil District Court for the Parish of Orleans,
2018-02194, Div. N;

Watkins v. On-Site Fuel Service, Civil District Court for the Parish of Orleans,
2018-04813, Div. C;

Johnson et al v. Transportation Consultants et al, Civil District Court for the Parish
of Orleans, 2018-04528, Div. N;

Tyler et al v. Empire Express, U.S. District Court, Eastern District of Louisiana,
18-05364;

Henry v. Cowan Systems, LLC, Civil District Court for the Parish of Orleans,
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2018-05391, Div. F;

Williams v. Cowan Systems, LLC, Civil District Court for the Parish of Orleans,
2018-05666, Div. I;

Poole et al v. U.S. Xpress Enterprises, Civil District Court for the Parish of
Orleans, 2018-05791, Div. B;

Poole et al v. U.S. Xpress Enterprises, Civil District Court for the Parish of
Orleans, 2018-05785, Div. C;

Cooper v. Tacan Transportation, Civil District Court for the Parish of Orleans,
2018-05574, Div. B;

Lee & Grant v. Tacan Transportation, Civil District Court for the Parish of Orleans,
2018-06203, Div. J;

Jones v. United Parcel Service, Civil District Court for the Parish of Orleans, 2018-
05289, Div. G;

Darensbourg v. United Parcel Service , Civil District Court for the Parish of
Orleans, 2018-06598, Div. E;

Fulford v. United Parcel Service, First City Court of New Orleans, 71-2820, Sec.
A;

Fulford v. United Parcel Service, Civil District Court for the Parish of Orleans,

2018-06664, Div. J;

Reed v. Southeastern Freight Lines, Inc., Civil District Court for the Parish of
Orleans, 2018-06569, Div. D;

Gardner & Gardner v. Werner Enterprises, Clark v. Werner Enterprises, 2018-

05288, Div. G;

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Clark v. Werner Enterprises, U.S. District Court, Eastern District of Louisiana, 18-
05076;

Jefferson, Matthews & Hinton v. H.M. Davis Transportation, Civil District Court
for the Parish of Orleans, 2018-07187, Div. D;

Degruy, Degruy & Ramee v. Penske, U.S. District Court, Eastern District of
Louisiana, 18-06885;

Statum et al v. Quality Carrier, Civil District Court for the Parish of Orleans, 2018-
07387, Div. G;

Burds v. Javier Flores Transportation, Civil District Court for the Parish of
Orleans, 2018-06692, Div. E;

Fobb, Smith, Winchester, Harris, Diaz & Wishem v. Stericycle, Civil District
Court for the Parish of Orleans, 2018-08066, Div. E;

Hendricks & Williams v. Stericycle, Civil District Court for the Parish of Orleans,
2018-01575, Div. N;

Coleman v. Stericycle, Civil District Court for the Parish of Orleans, 2018-08069,
Div. C;

Pedesclaux v. Ean Holdings, LLC, Civil District Court for the Parish of Orleans,
2018-07267, Div. J;

Dwayne Johnson v, Shadrack Long, Civil District Court for the Parish of Orleans,
2018-02116, Div. G;

Brumfield v. Bridges, Eastern District of Louisiana, 18-07212;

Williams, Chew & Harrison v. Dupre Logistics, Civil District Court for the Parish

of Orleans, 2018-07367, Div. L;
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Smith v. Heniff Transporation Systems, Civil District Court for the Parish of
Orleans, 2018-08479, Div. J;

Hendricks & Morton v. Heniff Transportation Systems, Civil District Court for the
Parish of Orleans, 2018-03289, Div. L;

Reff, Red, Harris & Williams v. Werner Enterprises, Eastern District of Louisiana,
18-08350;

Davis, Davis & Williams v. KAG Leasing, Inc., Civil District Court for the Parish
of Orleans, 2018-08692, Div. L;

Reese and Odds v. Miller Transportation, Eastern District of Louisiana, 18-08336;
Smith v. Seymour Transport, Inc., Civil District Court for the Parish of Orleans,
2018-08791, Div. N;

Lain, Carter & Carter v. Heniff Transportation, Civil District Court for the Parish
of Orleans, 2018-08693, Div. G;

Alexander & Berry v. Saia Motor Freight Line, Civil District Court for the Parish
of Orleans, 2018-08891, Div. G;

Thompson & Wilson v. Ozark Motor Lines, Eastern District of Louisiana, 18-
08652;

Barra, Gates, Collins & Sims v. Southeastern Freight Lines, Inc., Eastern District
of Louisiana, 18-08223;

Dents & Clark v. Tyson Foods, Inc., Civil District Court for the Parish of Orleans,
2018-08806, Div. G;

Davis v. Saia Motor Freight Line, LLC, Civil District Court for the Parish of

Orleans, 2018-09445, Div. J;
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Baham, Turner & Stubbs v. Lovorn & Lovorn Trucking, Eastern District of
Louisiana, 18-08881;

Jones & Toledano v. McKoin Trucking Company & Haynes Motor Lines, LLC,
Civil District Court for the Parish of Orleans, 2018-07635, Div. C;

Green, Johnson & Nobles v. Delta Trucking, Civil District Court for the Parish of
Orleans, 2018-09787, Div. I;

Charles, Foster, Darby & Birden v. Wiley Sanders Truck Lines, Eastern District
of Louisiana, 18-08907;

Varnado & Payne v. DD Logistics, Inc., Eastern District of Louisiana, 18-08969;

Ragas v. Beacon Transport, Civil District Court for the Parish of Orleans, 2018-
07467, Div. L;

Garrison v. 3 T's, Civil District Court for the Parish of Orleans, 2018-09953, Div.
J;

Hart & Johnson v. Forward Air, Inc., Civil District Court for the Parish of Orleans,
2018-09681, Div. L;

Carter v. Walmart, Inc., Civil District Court for the Parish of Orleans, 2018-09622,
Div. G;

Daniels v. Walmart, Inc., Civil District Court for the Parish of Orleans, 2018-
09548, Div. L;

Lloyd v. Walmart, Inc., Civil District Court for the Parish of Orleans, 2018-03237,
Div. L;

Williams v. Millsaps d/b/a Phat-Boy Trucking, Civil District Court for the Parish

of Orleans, 2018-10379, Div. G;
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Gibson & Martin v. Martin Transportation; Civil District Court for the Parish of
Orleans, 2018-10148, Div. B;

Dimitri Frazier, et al v. Whitestone Transportation, Eastern District of Louisiana,
18-02340;

Brown v. Kevin Doyle, Penske, Civil District Court for the Parish of Orleans,
2018-10714, Div. I;

Harris, et al. v. Old Republic Ins. Co., et al., Civil District Court for the Parish of
Orleans, 2016-2238, Div. L;

David Garrison, et al v. The Gray Casualty and Insurance Company, et al, Civil
District Court for the Parish of Orleans, 2018-6316, Div. I-14;

Harris, et al. v. Celadon Trucking Services, Inc., et al.; United States District Court
for the Eastern District of Louisiana; 2:18-cv-03317-MLCF-K WR;

Tiaji Andrews, et al v. United Speciality Ins. Co., et al., Civil District Court for the
Parish of Orleans; 2017-01092, Div. G-11;

Sorina v. Vargas, United States District Court for the Eastern District of Louisiana;
15-01547;

Lott, et al. v. Airgas USA, LLC, et al., Civil District Court for the Parish of
Orleans; 2018-11740, Div. C; and

Marol Ard v. Yoel Almeida, et al.; Civil District Court for the Parish of Orleans;

2018-03346, Div. D-12.

58. Deposition of Demetra Henderson-Burkhalter for impeachment purposes;

59. Deposition of Gregory Offray for impeachment purposes;

60. Deposition of Jacqueline Thompson for impeachment purposes;

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61. Deposition of Dr. Peter Liechty for impeachment purposes;

62. Deposition of Dr. Eric Lonseth for impeachment purposes;

63. Deposition of Cornelius Garrison for impeachment purposes;

64. Other phone records from plaintiffs involved in similar trucking incidents;

65. Court and criminal background investigation and pleadings on Gregory Offray produced
to plaintiffs;

66. Social media, court and criminal background investigation and pleadings on Demetra
Henderson-Burkhalter, including her Facebook posts and videos of her 50" birthday party
produced to plaintiffs and captured prior to plaintiff’s change in her Facebook setting from
public to private;

67. Court and criminal background investigation and pleadings regarding Jacqueline
Thompson produced to plaintiffs;

68. Claims Bureau USA, Inc.’s investigative findings on Plaintiffs, Cornelius Garrison,
plaintiffs in other similar trucking incidents, relationship between plaintiffs in the instant
matter and plaintiffs in other similar trucking incidents, relationship between Plaintiffs in
the instant matter and Cornelius Garrison, and relationship between plaintiffs in other
similar trucking incidents and Cornelius Garrison;

69. Any and all documents needed to impeach the plaintiffs in this incident;

70. Any and all exhibits listed by any other party to this litigation; and

71. Any and all demonstrative evidence.

Defendants reserve the right to supplement and/or amend this exhibit list as discovery is stil]

ongoing.

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Respectfully submitted:

/s/ Christopher James-Lomax
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ATTORNEYS FOR DEFENDANTS

CERTIFICATE OF SERVICE
I hereby certify that on the 14" day of June, 2019, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to all
counsel of record who are CM/ECF participants.

/s/ Christopher James-Lomax

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